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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                     No. 03-338

MELVIN LUTCHER, JR.                                                        SECTION: I/2



                                    ORDER AND REASONS

       Before the Court is the motion of defendant, Melvin Lutcher Jr. (“Lutcher”), to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255. For the following reasons, the

defendant’s motion is DENIED.



                                         BACKGROUND

       On October 30, 2003, Lutcher was charged by indictment with two felony counts.1 First,

he was charged with conspiracy to possess with intent to distribute cocaine base and cocaine

hydrochloride in violation of 21 U.S.C. § 846. Second, he was charged under 21 U.S.C. § 843(b)

with knowingly and intentionally using a communication facility in committing, causing, or

facilitating the commission of a violation of 21 U.S.C. § 846.2

       On October 14, 2004, a jury found Lutcher guilty of conspiracy to possess with intent to

distribute cocaine base but not guilty of conspiracy to possess with intent to distribute cocaine




       1
           R. Doc. No. 1.
       2
           Id.

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hydrochloride.3 The jury specifically found that the defendant conspired to possess more than 50

grams of cocaine base.4 The jury also found the defendant guilty of using a communication

facility (here, a telephone) to commit a violation of 21 U.S.C. § 846.5

       On February 16, 2005, this Court sentenced the defendant to 151 months imprisonment

and 5 years of supervised release on the conspiracy count and 48 months imprisonment and one

year of supervised release on the count for using a communications facility to violate 21 U.S.C. §

846.6 The sentences run concurrently.7 Prior to sentencing, this Court enhanced the defendant’s

base level for sentencing by two points for obstruction of justice.8

       On February 18, 2005, the defendant filed a notice of appeal.9 On June 2, 2006 the Fifth

Circuit affirmed the defendant’s conviction and sentence.10 The defendant filed a writ of

certiorari with the Supreme Court of the United States, which was denied on October 2, 2006.11

       On July 6, 2007, the defendant filed this motion to vacate his sentence pursuant to 28

U.S.C. § 2255. In his motion, the defendant claims that he was denied his right to effective

assistance of counsel at trial as guaranteed by the Sixth Amendment to the United States



       3
            R. Doc. No. 241 at 9.
       4
            Id.
       5
            Id. at 10.
       6
            R. Doc. No. 276, sentencing transcript at 11.
       7
            Id.
       8
            Id. at 6-11.
       9
            R. Doc. No. 258.
       10
             R. Doc. No. 312.
       11
             R. Doc. No. 317, 2255 motion at 3.

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Constitution.12 Specifically, the defendant argues that he received ineffective assistance because:

(1) trial counsel failed to object to the sufficiency of the indictment; (2) trial counsel failed to

seek a suppression hearing to exclude the defendant’s statement to the government; (3) trial

counsel failed to object to the admission of the defendant’s statement to the government at trial;

(4) trial counsel failed to strike a juror; (5) trial counsel failed to object to the admission of

testimony by government witnesses; (6) trial counsel failed to object to the admission into

evidence of guns and drugs found on the property of the defendant’s co-conspirators; (7) trial

counsel failed to move for a mistrial based on the trial court’s admission of guns and drugs found

on the property of the defendant’s co-conspirators; (8) appellate counsel failed to raise on direct

appeal the issue of whether the district court improperly admitted evidence of guns and drugs

found on the property of the defendant’s co-conspirators; (9) appellate counsel failed to raise the

issue of whether the government’s cross-examination of Lutcher, Jr. was “highly prejudicial”

evidence that should not have been admitted at trial; (10) trial counsel failed to object to jury

instructions and interrogatories; (11) appellate counsel failed to raise on direct appeal the issue

of whether the jury interrogatories were erroneous; (12) trial counsel failed to file a written

objection based on insufficiency of the government’s evidence after the jury delivered its

verdict; (13) appellate counsel failed to raise sufficiency of the evidence on direct appeal; (14)

trial counsel failed to object to the court’s sentence enhancement for obstruction of justice; (15)

appellate counsel failed to raise on direct appeal the issue of whether the district court

improperly enhanced his sentence for obstruction of justice; (16) trial and appellate counsel

failed to argue that the defendant was improperly sentenced under Apprendi v. United States; and


        12
             2255 motion; R. Doc. No. 335, 2255 reply.

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(17) trial counsel failed to move for a sentence reduction after sentencing.



                                     LAW AND ANALYSIS

I.      OVERVIEW OF 28 U.S.C. § 2255

        Section 2255 allows a prisoner in custody to attack his sentence on grounds that it was

“imposed in violation of the Constitution or laws of the United States,” or “that the court was

without jurisdiction to impose such sentence,” or “that the sentence was in excess of the

maximum authorized by law, or is otherwise subject to collateral attack.”13 “Relief under 28

U.S.C. § 2255 is reserved for transgressions of constitutional rights and for a narrow range of

injuries that could not have been raised on direct appeal and would, if condoned, result in a

complete miscarriage of justice.” United States v. Segler, 37 F.3d 1131, 1133 (5th Cir. 1994)

(quoting United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992)).

        “Where a defendant has procedurally defaulted a claim by failing to raise it on direct

review, the claim may be raised in habeas only if the defendant can first demonstrate ‘cause’ and

‘actual prejudice,’ or that he is ‘actually innocent.’” Bousley v. United States, 523 U.S. 614, 622

(1998) (citations omitted). “This cause and actual prejudice standard presents ‘a significantly

higher hurdle’ than the ‘plain error’ standard that we apply on direct appeal.” United States v.

Shaid, 937 F.2d 228, 232 (5th Cir. 1991) (en banc) (quoting United States v. Frady, 456 U.S.

152, 166 (1982)).

        To meet the cause requirement, the defendant must show that “‘some objective factor

external to the defense’ prevented him from raising on direct appeal the claim he now advances.”


        13
             28 U.S.C. § 2255.

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United States v. Guerra, 94 F.3d 989, 993 (5th Cir. 1996) (quoting Romero v. Collins, 961 F.2d

1181, 1183 (5th Cir. 1992)). “Objective factors that constitute cause include interference by

officials that makes compliance with the procedural rule impracticable, a showing that the

factual or legal basis for the claim was not reasonably available to counsel at the prior occasion,

and ineffective assistance of counsel in the constitutional sense.” Id. To satisfy the actual

prejudice requirement, the defendant must “demonstrate[] that, but for the error, he might not

have been convicted.” Id. at 994.

       Here, the defendant claims that he is entitled to relief under 28 U.S.C. § 2255 because the

ineffective assistance of both trial counsel and appellate counsel deprived him of his rights under

the Sixth Amendment. Ineffective assistance of counsel claims satisfy the cause-and-prejudice

standard, and are ordinarily first raised on collateral review, due to the difficulty of compiling an

adequate record by the time of direct appeal. United States v. Pierce, 959 F.2d 1297, 1301 (5th

Cir. 1992). Furthermore, the Supreme Court has held that defendants may raise ineffective

assistance of counsel for the first time on collateral review even if the defendant had possessed

an adequate record by the time of direct appeal. Massaro v. United States, 538 U.S. 500, 504

(2004). The Massaro Court explained that a trial transcript is unlikely to show the existence of

conflicts of interest or whether or not trial counsel’s actions were supported by reasonable

strategy. Id. at 505. The Court concluded that the “better-reasoned approach is to permit

ineffective-assistance claims to be brought in the first instance in a timely motion in the district

court under § 2255.” Id. at 504.




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II.      INEFFECTIVE ASSISTANCE OF COUNSEL

A.       Standard of Law

         The standard for judging the performance of counsel was established by the Supreme

Court in Strickland v. Washington, 466 U.S. 668 (1984). In Strickland, the Court established a

two-part test for evaluating claims of ineffective assistance of counsel that requires the petitioner

to prove (1) deficient performance and (2) resulting prejudice. Id. at 697. In order to satisfy the

first Strickland prong, “the defendant must show that counsel’s representation fell below an

objective standard of reasonableness.” Id. at 687-88. Second, “[t]he defendant must show that

there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694; see also United States v. Kimler, 167 F.3d

889, 893 (5th Cir. 1999). “A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694. A defendant must satisfy both prongs

of the Strickland test in order to be successful on an ineffective assistance claim. Id. at 697.

         On federal habeas review, scrutiny of counsel’s performance “must be highly

deferential,” and the court will ‘indulge a strong presumption that strategic or tactical decisions

made after an adequate investigation fall within the wide range of objectively reasonable

professional assistance.” Moore v. Johnson, 194 F.3d 586, 591 (5th Cir. 1999). In assessing

counsel’s peformance, a federal habeas court must make every effort to “eliminate the distorting

effects of hindsight, to reconstruct the circumstances of counsel’s challenged conduct, and to

evaluate the conduct from counsel’s perspective at the time [of trial].” Strickland, 466 U.S. at

689. “[A] court must indulge a ‘strong presumption’ that counsel’s conduct falls within the wide

range of reasonable professional assistance because it is all too easy to conclude that a particular


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act or omission of counsel was unreasonable in the harsh light of hindsight.” Bell v. Cone, 535

U.S. 685, 702 (2002) (citing Strickland, 466 U.S. at 689).

        The second prong of the Strickland test looks to any prejudice suffered as a result of

counsel’s deficient performance. This prong requires “a reasonable probability that, absent the

errors, the factfinder would have had a reasonable doubt respecting guilt.” United States v.

Mullins, 315 F.3d 449, 456 (5th Cir. 2002) (quoting Strickland, 466 U.S. at 695). The defendant

must show that counsel’s errors were “so serious as to deprive the defendant of a fair trial, a trial

whose result is reliable.” Id. (internal quotation marks omitted) (quoting Strickland, 466 U.S. at

687).




B.      Discussion

        I.         Failure to Object to the Sufficiency of the Indictment

        The defendant argues that the indictment is insufficient because it does not allege the

exact quantity of drugs that the defendant conspired to possess and distribute.14 As a result, the

defendant argues that trial counsel was ineffective for failing to object to the indictment before

trial, during trial, and at sentencing.15 Counsel is not ineffective for failing to make a meritless

objection. Wood v. Quarterman, 503 F.3d 408, 413 (5th Cir. 2007). A motion to dismiss the

indictment as insufficient would have been meritless; therefore, the defendant’s trial attorney

was not ineffective for failing to move to dismiss the indictment.



        14
             2255 motion at 5(a).
        15
             Id. at 5(c), 2255 reply at 11.

                                                    7
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       “An indictment is sufficient if it contains the elements of the charged offense, fairly

informs the defendant of the charges against him, and ensures that there is no risk of multiple

prosecutions for the same offense.” United States v. Sims Bros. Constr., Inc., 277 F.3d 734, 741

(5th Cir. 2001) (internal quotation marks omitted). “An indictment that tracks a statute’s words

is generally sufficient ‘as long as those words fully, directly, and expressly, without any

uncertainty or ambiguity, set forth all the elements necessary to constitute the offense intended to

be punished.’” United States v. Arlen, 947 F.2d 139, 145 (5th Cir. 1991) (quoting United States

v. London, 550 F.2d 206, 210 (5th Cir. 1977)). “In other words, the language of the statute may

guarantee sufficiency if all required elements are included in the statutory language.” Id. at 145

(quoting United States v. Gordon, 780 F.2d 1165, 1171 (5th Cir. 1986)).

       In count one of the indictment, the government charged the defendant with knowingly

and intentionally conspiring with other persons to possess with intent to distribute 50 grams or

more of cocaine base and quantities of cocaine hydrochloride in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(A), 841(b)(1)(C) and 21 U.S.C. § 846.16 In count ten, the government

charged the defendant under 21 U.S.C. § 843 with knowingly and intentionally using a

communication facility (here, a telephone) in causing a violation of 21 U.S.C. § 846.17

       In the indictment, the government not only cited the specific statutes under which it

charged the defendant, but also used language that closely tracks the statutory language.18 As a

result, the indictment listed the elements of the offenses charged and gave the defendant fair


       16
            See R. Doc. No. 1 at 1, 10.
       17
            Id. at 6.
       18
            Id. at 1, 6.

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notice of the charges against him. While the indictment states that the defendant conspired to

possess and distribute “50 grams or more” of cocaine base instead of stating a precise amount,

this does not render the indictment insufficient. See United States v. Hayes, 2006 WL 1581196,

at *9 (W.D. La. Jan. 24, 2006) (stating that the § 841(b)(1)(A) minimum threshold of 50 grams,

rather than a specific amount, was the “element” that the jury was required to determine). As a

result, the “50 grams or more” indictment language was sufficient to give the defendant fair

notice of the charges against him.

        The defendant further argues that the indictment was insufficient because it did not

charge him with actual possession of illegal drugs.19 The statutes under which the defendant was

charged and convicted, however, do not require actual possession as an element of the offense.

See 21 U.S.C. §§ 843, 846. Instead, 21 U.S.C. § 846 makes the mere attempt or conspiracy to

possess and distribute drugs, rather than actual possession, a crime. The indictment is sufficient

because it tracks the statutory language in charging the defendant with conspiring to possess

illegal drugs.20

        For the above reasons, a motion to dismiss the indictment would have been meritless.

The defendant has, therefore, failed to show that trial counsel’s failure to make such a motion

was objectively unreasonable under the first Strickland prong.




        19
             2255 motion at 5(c), 2, 7.
        20
             See R. Doc. No. 1 at 1.

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       ii.         Failure to Object to and Seek a Suppression Hearing on the Defendant’s

                   Statement to the Government

       The defendant alleges that he received ineffective assistance because trial counsel failed

to seek a hearing to suppress the inculpatory statement he made to the government after his

arrest.21 He further alleges that he received ineffective assistance because trial counsel failed to

object to the admission of the statement at trial.22 Strickland prejudice requires a defendant to

show that there was a reasonable probability that trial counsel would have been successful in

such a hearing or objection in order to prevail on a claim that the failure to seek the hearing or

make the objection constitutes ineffective assistance, and that the result of the trial would have

been different had the statement been excluded. See Strickland, 466 U.S. at 694; Perez v.

Cockrell, 77 F. App’x 201, 205 (5th Cir. 2003) (denying ineffective assistance claim for failure

to seek a suppression hearing where the defendant did not show a reasonable probability that an

argument for suppression would have been successful).

       At trial, FBI special agent Oliver McGill (“McGill”) testified that the defendant signed a

waiver of rights form in which he waived his Miranda rights.23 McGill further testified that

before the defendant signed the waiver, he read the form aloud to the defendant and then they

read through the form together.24 The government introduced the signed waiver form at trial,




       21
             2255 motion at 5(d).
       22
             Id.
       23
             R. Doc. No. 273, trial transcript at 186-89.
       24
             Id.

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and this Court admitted it into evidence.25

       McGill’s testimony demonstrates that the defendant voluntarily and intelligently waived

his Miranda rights. In his motion, the defendant does not set forth any facts suggesting that his

statement was not voluntary, knowing, and intelligent.26 See Miranda v. Arizona, 384 U.S. 436,

444 (1966). The defendant has, therefore, failed to show that his counsel’s failure to file a

motion to suppress his statement and failure to request that the statement be excluded at trial

were objectively unreasonable. Moreover, since the defendant has not shown a reasonable

probability that a suppression hearing or an objection would have changed the outcome of his

case, he has failed to show prejudice under the second Strickland prong.

       iii.        Failure to Strike a Juror

       The defendant argues that trial counsel’s failure to request removal of a juror was error

that constitutes ineffective assistance.27 During trial, the Court conducted a conference with

Juror Number 8 to allay security concerns she had about the defendants’ possible knowledge of

her address.28 Lutcher waived his right to be present during this conference with the juror.29

Once her concerns were addressed by the Court, the juror expressed her ability to remain




       25
            Id.
       26
            See 2255 motion; 2255 reply.
       27
            2255 motion at 5(b).
       28
            R. Doc. No. 274, trial transcript at 377-84.
       29
            Id. at 378.

                                                           11
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impartial in rendering a verdict.30 Trial counsel, who attended the conference and relayed its

substance to the defendant, decided not to move to excuse the juror. Lutcher concurred on the

record in this decision of counsel.31


         30
              The following colloquoy occurred in chambers:
                    THE COURT: Does the concern that you have,
                    securitywise, does that in any way affect you in deliberating in
                    this case?
                    MS. LESCHAK: No.
                    THE COURT: If government does not sustain it's burden
                    of proof can you find the defendants not guilty?
                    MS. LESCHAK: Yes.
                    THE COURT: Notwithstanding the fact that they may have
                    seen your name?
                    MS. LESCHAK: Right.
                    THE COURT: Are you sure you can do that?
                    MS. LESCHAK: I think I can do that.
                    THE COURT: If the government sustained its burden of
                    proof at the end of trial, and I have no opinion on that
                    whatsoever, can you, in fact, find either of the defendants
                    guilty, if they sustained their burden as to that defendant?
                    MS. LESCHAK: Yes, I can. And my decision is going to
                    be independent of any concern I have, whether my name was shown
                    or not, but it's a concern.

Id. at 381.
         31
            Id. at 384-85. In his motion, Lutcher contends that “Counsels did not let defendants know what the juror
said about the drugs and the firearms, also, about the full context about the conference.” 2255 motion at 18. This
contention is undermined by the following colloquoy held outside of the jury’s presence following the conference
with the juror:
                    MR. FANNING: Judge, I just want to establish for the record that Mr. Bizal and
                    I have conferred with our clients and related to them the substance of the juror’s
                    testimony during the conference that we had just now and that they concur with
                    us that we should not move to excuse the juror based on the answers that she
                    gave.
                    THE COURT: Mr. Bizal?
                    MR. BIZAL: That’s correct, Your Honor.
                    THE COURT: Is that correct, Mr. Lutcher, Jr.?
                    MR. LUTCHER, JR.: Yes, sir.
                    ...
                    THE COURT: Do you understand what your counsel just said?
                    BOTH OF THE DEFENDANTS ANSWER IN AFFIRMATIVE
                    THE COURT: That’s what you want to do?
                    BOTH OF THE DEFENDANTS ANSWER IN AFFIRMATIVE
                    THE COURT: Do you understand that by agreeing to that position, you can’t
                    later complain that the juror wasn’t removed, do you understand that?
                    BOTH OF THE DEFENDANTS ANSWER IN AFFIRMATIVE
                    THE COURT: You still do not want that juror to be removed, is that correct?

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         An attorney’s decision as to whether to request removal of a juror is generally a matter of

trial strategy. See Ray v. Johnson, 196 F.3d 1257, at *1 (5th Cir. 1999); Romero v. Lynaugh, 884

F.2d 871, 878 (5th Cir. 1989); Wash v. Hood, 2007 WL 3047149 (N.D. Miss. Oct. 17, 2007)

(citing Teague v. Scott, 60 F.3d 1167, 1172 (5th Cir. 1995)). Since the decision to request

removal of a juror is a matter of trial strategy, it is entitled to a strong presumption of

reasonableness. Moore v. Johnson, 194 F.3d 586, 591 (5th Cir. 1999) (adopting a “strong

presumption that strategic or tactical decisions made after an adequate investigation fall within

the wide range of objectively reasonable professional assistance). In his motion, the defendant

states that trial counsel did not request removal of a juror because he believed that the alternate

juror who would take her place was an ex-policeman.32 This statement effectively concedes that

trial counsel’s decision not to request removal was supported by a reasoned decision.33 The

defendant’s claim that counsel’s failure to request removal constitutes ineffective assistance fails

the first Strickland prong because the decision to retain the juror was not objectively

unreasonable.

         iv.         Failure to Object to Witness Testimony

         The defendant claims that trial counsel was ineffective for failing to object to the




                     Both of you?
                     BOTH OF THE DEFENDANTS ANSWER IN AFFIRMATIVE

R. Doc. No. 274, trial transcript at 384-85. During the above colloquoy, Lutcher clearly indicated that he understood
the substance of the discussions during the juror conference and concurred in the decision not to attempt to remove
her.
         32
               2255 motion at 5(b)-5(c).
         33
               Id.

                                                         13
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testimony of FBI special agents McGill and Robert Christian (“Christian”).34 Christian testified

that he found a rifle, ammunition, and drugs at the Arlington, Texas business of Andrese

Villalobos (“Villalobos”), who was apparently one of the main sources of drugs for the

conspiracy in question. 35 McGill testified that crack cocaine and firearms were discovered at the

residence of Dwayne Kennedy (“Kennedy”), and that Kennedy was wielding a firearm when he

was arrested during the search of his residence.36 Kennedy was the subject of a separate

conspiracy indictment, along with Villalobos.37

         The testimony regarding guns and drugs seized from Villalobos and Kennedy was

relevant testimony. The district court admitted the physical drug evidence from Villalobos and

Kennedy, but excluded the physical firearm evidence seized from those individuals.38 The

admission of the tangible evidence was upheld on appeal.39 There is no reason to think that the

agents’ testimony – the very basis for the admission of the tangible evidence – would have been

treated differently. Any objection to the agents’ testimony would have been overruled and,

therefore, trial counsel’s performance cannot be deemed deficient for failing to object. Lutcher’s

allegation fails to meet the first Strickland prong. For the same reason, the failure to object does


         34
              2255 motion at 5(c).
         35
              R. Doc. No. 273, trial transcript at 262-65.
         36
            Id. at 175-78. McGill also testified that a handgun was seized from Sterling Lewis’s residence. Id. at
180-81. This handgun was admitted into evidence without objection from the defendant. R. Doc. No. 274, trial
transcript at 467. Lutcher does not contest the admission of this evidence or any failure to object to this evidence in
his motion. 2255 motion at 12-13. Indeed, the Fifth Circuit noted that the defense sought to rely on the handgun
from Lewis’s residence during its opening statement and closing argument. R. Doc. No. 312 at 4.
         37
              Id. at 184.
         38
              R. Doc. No. 274, trial transcript at 465-68.
         39
              R. Doc. No. 312.

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not satisfy Strickland prejudice because it would not have affected the outcome of the trial.

         v.         Failure to Object to the Admission of Evidence

         The defendant argues that he was denied effective assistance because trial counsel failed

to object to the physical evidence of drugs and guns seized on the property of Kennedy and

Villalobos.40 The record shows that, pursuant to counsel’s objection, the firearms seized from

Kennedy’s and Villalobos’s properties were not admitted into evidence.41 The defendant argues

that, even though the firearms were ultimately excluded as exhibits in evidence, they had already

been displayed to the jury, causing him unfair prejudice.42 The Court specifically instructed the

jury that only the admitted evidence could be considered and that any evidence stricken must be

disregarded.43 Even if it could be argued that counsel’s performance was deficient in failing to

seek exclusion of the firearm evidence, there is no reason to believe the jury did not follow the

cited instruction. See United States v. Patino-Prado, 533 F.3d 304, 312 (5th Cir. 2008) (“We

will presume that jurors understand and follow their instructions, abandoning that presumption

only when there ‘is an overwhelming probability that the jury will be unable to follow the

instruction and there is a strong probability that the effect is devastating.’” (quoting United

States v. Barksdale-Contreras, 972 F.2d 111, 116 (5th Cir. 1992))). As a result, the defendant

cannot show that the outcome of the trial would have been affected under the second Strickland

prong.


         40
              2255 reply at 34.
         41
              R. Doc. No. 274, trial transcript at 466-68. The Court notes that the Fifth Circuit found no error
         42
              2255 motion at 16-17.
         43
              R. Doc. No. 275, trial transcript at 625.

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       The record further reveals that trial counsel objected to the introduction into evidence of

drugs and drug paraphernalia from their property, but those objections were overruled.44 Since

the record shows that trial counsel did in fact object to the introduction of the drugs and guns

into evidence, the defendant has failed to show that trial counsel’s performance was objectively

unreasonable under the first Strickland prong.

       The defendant also alleges that appellate counsel was ineffective for failing to raise on

direct appeal whether the trial court erred by admitting the drugs evidence and the Lewis

handgun into evidence.45 “The entitlement to effective assistance does not end when the

sentence is imposed, but extends to one’s first appeal of right.” United States v. Williamson, 183

F.3d 458, 462 (5th Cir. 1999). Appellate counsel’s performance is evaluated under the same

Strickland standard as is trial counsel’s performance. Id. “To prevail, [the defendant] must

establish, first, that his attorney's representation was deficient and, second, that the deficient

performance caused him prejudice.” Id. With respect to the deficient performance prong in the

appellate context, the Fifth Circuit has stated that “[c]ounsel does not need to ‘raise every

nonfrivolous ground of appeal available.’ Nonetheless, a reasonable attorney has an obligation

to research relevant facts and law, or make an informed decision that certain avenues will not

prove fruitful.” Id. (quoting Green v. Johnson, 160 F.3d 1029, 1043 (5th Cir. 1998)). With

respect to the prejudice prong, the defendant must demonstrate that “there is a reasonable

probability that, but for counsel's unprofessional error[ ], the result of the proceeding would have

been different.” Id. at 463 (quoting Jones v. Jones, 163 F.3d 285, 302 (5th Cir. 1998)) (alteration


       44
            R. Doc. No. 274, trial transcript at 465-69.
       45
            2255 reply at 34-35.

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in original) (internal quotation marks omitted). “A reasonable probability is that which renders

the proceeding unfair or unreliable, i.e., undermines confidence in its outcome.” Id.

       Even if the trial court’s admission of the evidence had been error, there was otherwise

sufficient evidence from which reasonable jurors could have convicted the defendant. The

appellate court would not have disturbed the jury’s guilty verdict solely because the evidence of

drugs was admitted. See United States v. Espino-Rangel, 500 F.3d 398, 400 (5th Cir. 2007). At

trial, the prosecution introduced many recorded phone calls that implicated the defendant in a

scheme to purchase cocaine base.46 The prosecution also introduced the defendant’s own

statement in which he admitted to arranging a deal for the purchase of cocaine base.47 The jury

could well have convicted the defendant on the basis of this evidence, notwithstanding the

tangible drug evidence that was admitted. There has, therefore, been no showing of actual

prejudice to the defendant and, as a result, the second Strickland prong has not been satisfied.

       vi.         Failure to Seek a Mistrial

       The defendant claims that trial counsel was ineffective for failing to move for a mistrial

based on the admission of the drugs and guns found on his co-conspirators’ property.48 He

argues that this evidence was prejudicial to him because it tended to establish his guilt by

association.49 The determination to grant or deny a motion for a mistrial lies within the trial

judge’s sole discretion. See United States v. Honer, 225 F.3d 549, 555 (5th Cir. 2000).


       46
             R. Doc. No. 273, trial transcript at 203-10.
       47
             Id. at 189.
       48
             2255 reply at 34.
       49
             Id.

                                                            17
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         At trial, this Court ruled, over trial counsel’s objection, that the drugs and drug

paraphernalia found on the property of Kennedy, Villalobos, and Sterling Lewis and one weapon

found on the property of Lewis should be admitted into evidence.50 In light of this prior

evidentiary ruling, it is highly unlikely that the same Court would have later granted a mistrial –

had it been urged by counsel – on the ground that the admission of this evidence violated the

defendant’s rights to due process and a fair trial. In order to satisfy the second prong of

Strickland, the defendant must show that there is a reasonable likelihood that a motion for

mistrial would have been granted. The defendant has not shown a reasonable probability that

this Court, having found certain evidence to be admissible, would later declare a mistrial based

on the admission of that same evidence. This claim fails the second Strickland prong.

         vii.      Failure to Appeal the Government’s Cross-Examination of the Defendant

         The defendant alleges that he was denied effective assistance of counsel because

appellate counsel did not raise on direct appeal whether the trial court erred in allowing the

government’s cross-examination of the defendant.51 The defendant claims that during this cross-

examination, the government improperly questioned him about his father’s prior conviction.52

The defendant argues that this cross-examination was highly prejudicial because it tended to




         50
           R. Doc. 274, trial transcript 464-68. The record shows that exhibits 19 and 19b, the handgun and
magazine from co-conspirator Sterling Lewis’s apartment, were admitted into evidence. Id. at 467.
         51
             2255 motion at 5(d), 24-25. Although Lutcher’s trial counsel did not object to the cross-examination on
the subject of his father’s prior conviction, the trial counsel of Lutcher’s co-defendant did so object and was
overruled. R. Doc. No. 274, trial transcript at 501-02. To the extent that Lutcher now contends that trial counsel
was ineffective in failing to object to the cross-examination, his claim lacks merit.
         52
              2255 motion at 5(d).

                                                         18
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establish his guilt by association with his father.53 He contends that appellate counsel was

ineffective for failing to assert that this cross-examination was improper.54

       During trial, the government and counsel for Lutcher’s father entered into a stipulation as

to the father’s prior conviction for possession with intent to distribute cocaine hydrochloride.55

The Court issued a limiting instruction immediately following the stipulation, stating that “the

evidence of Melvin Lutcher, Sr.’s similar act may not be considered for any purpose against

Melvin Lutcher, Jr.”56 The Court reiterated its limiting instruction during the instructions read to

the jury at the close of trial: “The evidence of Melvin Lutcher, Senior’s similar act may not be

considered for any purposes against Melvin Lutcher, Junior.”57 During it closing argument, the

government did not refer to its cross-examination of Lutcher on the subject of his father’s prior

conviction.

       The jury was properly instructed as to the purposes for which it could consider the

father’s prior conviction. See United States v. Cihak, 137 F.3d 252, 258 (5th Cir. 1998)

(affirming district court’s admission of a codefendant’s prior conviction when limiting

instruction was given forbidding the jury from considering the evidence against other

defendants). This Court did not commit reversible error in allowing the testimony. Any attempt

by appellate counsel to appeal this issue would not have been successful and, therefore, appellate



       53
            Id.
       54
            Id.
       55
            R. Doc. No. 274, trial transcript at 469.
       56
            Id. at 470.
       57
            R. Doc. No. 275, trial transcript at 632.

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counsel’s performance was not deficient. See Williamson, 183 F.3d at 462 (stating that appellate

counsel is not ineffective for failing to raise every nonfrivolous ground available). The first

Strickland prong has not been satisfied.

        Moreover, in the context of a trial court’s ruling as to the admission of certain testimony,

an appellate court will not reverse the trial court’s ruling if the impermissible testimony was

harmless. See United States v. Espino-Rangel, 500 F.3d 398, 400 (5th Cir. 2007). An appellate

court will find that such an error was harmless if there is sufficient evidence, aside from any

potentially impermissible testimony, from which the jury could find the defendant guilty. Id.

        Here, even if allowing the cross-examination was error, the record shows that there was

sufficient evidence apart from this testimony – including an admission by Lutcher to McGill –

from which the jury could have convicted the defendant. There has, therefore, been no showing

of actual prejudice to the defendant and, as a result, the second Strickland prong has not been

satisfied.

        viii.      Failure to Object to Jury Instructions and Interrogatories

        The defendant claims that trial counsel was ineffective for failing to object to the jury

instructions and interrogatories.58 Specifically, the defendant argues that trial counsel should

have objected to the jury instructions because they did not require that the jury find that the

defendant actually possessed more than 50 grams of cocaine base.59

        As discussed above, the defendant was indicted and charged with conspiring to possess



        58
             2255 reply at 13-18.
        59
             Id. at 15.

                                                   20
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more than 50 grams of cocaine base, not actual possession of cocaine base. The jury was not

required to find that the defendant actually possessed any amount of cocaine base in order to find

him guilty of the offense with which he was charged. Since actual possession is not an element

of the offense defined in 21 U.S.C. § 846, any objection that trial counsel could have made to the

jury instructions on the ground that they did not require the jury to find actual possession by a

reasonable doubt would have been meritless. Counsel is not ineffective for failing to make a

meritless objection. Wood v. Quarterman, 503 F.3d 408, 413 (5th Cir. 2007). As a result, the

defendant has not shown that trial counsel’s performance was objectively unreasonable under the

first Strickland prong.

       The defendant also claims that trial counsel was ineffective for failing to object to the

jury interrogatories.60 The defendant does not specify what was improper or prejudicial about

the jury interrogatories. The jury interrogatories track the statutory language under which the

defendant was indicted as well as the language used in the indictment.61 Since the defendant has

failed to show how the jury interrogatories were so unlawful and prejudicial that his trial counsel

rendered an objectively unreasonable performance by failing to object to them, his claim fails the

first Strickland prong.

       The defendant also alleges that appellate counsel was ineffective for failing to raise on

direct appeal whether the trial court issued erroneous jury interrogatories.62 Since the defendant

does not identify specific errors in the jury interrogatories, he has failed to show a


       60
            Id. at 16.
       61
            See R. Doc. No. 241 at 8-10.
       62
            2255 reply at 29.

                                                 21
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reasonable probability that such a claim would have been successful on appeal.63 As a result, the

defendant has failed to satisfy the second Strickland prong.

         ix.      Failure to Move for a Judgment of Acquittal After the Jury Delivered a Verdict

         The defendant claims that he received ineffective assistance because trial counsel did not

file a motion pursuant to Rule 29(c) of the Federal Rules of Criminal Procedure to dismiss the

government’s case based on insufficient evidence after the jury delivered its verdict.64 Rule

29(c) permits a defendant to move for a judgment of acquittal within seven days after the jury

returns a guilty verdict. When considering a Rule 29(c) motion, the district court must “assess

whether a reasonable jury could have properly concluded, weighing the evidence in a light most

deferential to the verdict rendered by the jury, that all of the elements of the crime charged had

been proven beyond a reasonable doubt.” United States v. Lucio, 428 F.3d 519, 522 (5th Cir.

2005). The court does not “analyze the evidence with an eye toward negating every possible

inference of innocence, rather, if the fact finder was presented with sufficient evidence to support

the verdict reached, that verdict must be upheld.” Id.

         Based on the above standard, it is clear that a motion for acquittal pursuant to Rule 29(c)

would have been unsuccessful. Trial counsel moved for a judgment of acquittal at the close of




         63
            The defendant seems to suggest that the jury interrogatories were erroneous because they did not ask the
jurors whether the defendant actually possessed illegal drugs. See id. at 16. As discussed above, any such objection
would have been meritless because the offense with which the defendant was charged does not require actual
possession. See 21 U.S.C. §§ 841, 846. The argument would have been fruitless on direct appeal as well.
         64
             2255 motion at 5(d). It is unclear from the defendant’s § 2255 motion whether the defendant claims that
trial counsel should have based the Rule 29 motion on insufficient evidence only or if he claims that trial counsel
also should have based it on the alleged defects in the indictment. See id. To the extent that the defendant is
reasserting that his counsel was ineffective for failing to claim that the indictment was defective, that issue has been
addressed above.

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the government’s case, and reurged that motion at the close of the defendants’ case.65 This Court

denied the motion both times.66 In order to deny the motion, this Court had to have found that a

rational juror could find the defendant guilty beyond a reasonable doubt. See United States v.

Morgan, 505 F.3d 332, 341 (5th Cir. 2007). As this Court had already found that rational jurors

could find the defendant guilty prior to jury deliberations, it would not have found insufficient

evidence to support a guilty verdict. In his § 2255 motion, the defendant does not explain why

this Court would have been likely to find insufficient evidence to support the jury verdict if it

had been presented with a Rule 29 motion. Since the defendant has not shown that a Rule 29

would have had a reasonable probability of success, he has failed to demonstrate prejudice under

the second Strickland prong.

       x.         Failure to Raise Sufficiency of the Evidence on Direct Appeal

       The defendant argues that he was denied effective assistance because appellate counsel

failed to raise a sufficiency of the evidence argument on direct appeal.67 The record on appeal

would have included the defendant’s admission to the government as well as recorded phone

calls where the defendant spoke to a co-conspirator about purchasing drugs.68 To meet the first

prong of the Strickland standard when an issue is not pursued on appeal, appellate counsel must

“make an informed decision that certain avenues will not prove fruitful.” United States v.

Phillips, 210 F.3d 345, 348 (5th Cir. 2000) (quoting Williamson, 183 F.3d at 462-63).


       65
            See R. Doc. No. 239 at 2.
       66
            Id.
       67
            2255 motion at 5(d).
       68
            R. Doc. No. 273, trial transcript at 189, 203-10.

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        When reviewing a properly preserved claim of insufficient evidence, an appellate court

will determine whether a reasonable jury could find that the evidence establishes the guilt of the

defendant beyond a reasonable doubt. Morgan, 505 F.3d at 341. Considering this standard, and

in light of the defendant’s admission and the recorded calls, appellate counsel’s decision not to

argue sufficiency of the evidence was not deficient. The defendant has failed to satisfy the first

Strickland prong.

        xi.         Failure to Appeal the Enhancement for Obstruction of Justice

        At sentencing, this Court enhanced the defendant’s sentence for obstruction of justice,

pursuant to § 3C1.1 of the United States Sentencing Guidelines.69 The defendant argues that this

enhancement was improper because the jury did not specifically find that he had committed

perjury.70 The defendant further argues that appellate counsel was ineffective for failing to raise

this issue on direct appeal.71

        In order for the obstruction of justice enhancement to apply, the jury does not need to

find beyond a reasonable doubt that the defendant committed perjury. United States v. Williams,

2008 WL 413303, at *3 (5th Cir. 2008) (citing United States v. Alonzo, 435 F3d 551, 553 (5th

Cir. 2006)). Instead, the enhancement may be imposed if the sentencing judge finds by a

preponderance of the evidence that the defendant committed perjury. Id.

        Here, the sentencing transcript reveals that this Court found by a preponderance of the




        69
              R. Doc. No. 276, sentencing transcript at 6-10.
        70
              2255 motion at 5(a).
        71
              Id.

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evidence that the defendant committed perjury when he testified at his trial.72 It was, therefore,

reasonable for appellate counsel to conclude that such a claim would not have succeeded on

direct appeal. Appellate counsel need not raise every non-frivolous issue on appeal and need

only make an informed decision that a given grounds for appeal will not prove fruitful. See

Phillips, 210 F.3d at 348. The defendant has failed to show that appellate counsel’s failure to

raise this issue was objectively unreasonable under the first Strickland prong.

       xii.         Failure to Argue Apprendi Issues

       The defendant argues that trial counsel was ineffective at his sentencing hearing for

failing to argue that his two-point sentence enhancement for obstruction of justice was improper

under Apprendi v. New Jersey, 530 U.S. 466 (2000).73 Apprendi provides that “other than the

fact of a prior conviction, any fact that increases the penalty for a crime beyond the prescribed

statutory maximum must be submitted to a jury, and proved beyond a reasonable doubt. Id. at

489. The Fifth Circuit has held that Apprendi does not apply unless the defendant is sentenced

to a term that exceeds the statutory maximum. United States v. Wilson, 249 F.3d 366, 380 (5th

Cir. 2001) (“It is clear in this circuit that where an enhancement does not increase the

defendant’s sentence above the statutory maximum, there is no Apprendi violation.”).

       This Court sentenced the defendant to a term well below the statutory maximum.74

Section 841 provides that those convicted under the statute shall receive not less than ten years

imprisonment and not more than life imprisonment. 21 U.S.C. § 841(1)(A)(viii). The defendant



       72
              R. Doc. No. 276, sentencing transcript at 6-9.
       73
              2255 motion at 43-46.
       74
              R. Doc. No. 276, sentencing transcript at 11.

                                                              25
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was sentenced to 151 months on that count.75 Section 843 provides a for a maximum sentence of

4 years, or 48 months. 21 U.S.C. § 843 (d) (1). This Court sentenced the defendant to 48

months on that count, which meets but does not exceed the statutory maximum.76

       Since the defendant was not sentenced to a term that exceeds the statutory maximum,

Apprendi does not apply to his sentence. As a result, any objection that trial counsel could have

made based on Apprendi would have lacked merit. Counsel is not ineffective for failing to make

a meritless objection. Wood v. Quarterman, 503 F.3d 408, 413 (5th Cir. 2007). As a result, the

defendant has not shown that trial counsel’s performance was objectively unreasonable under the

first Strickland prong.

       The defendant also alleges that appellate counsel was ineffective for failing to raise

Apprendi issues on direct appeal. 77 For the reasons above, an Apprendi argument would have

been fruitless on direct appeal. Appellate counsel need not raise arguments on appeal that will

not prove meritorious to satisfy the Strickland standard. See Phillips, 210 F.3d at 348. The

defendant has failed to show that appellate counsel rendered objectively unreasonable

performance under the first Strickland prong.

       xiii.       Failure to Move for Sentence Reduction

       The defendant argues that trial counsel was ineffective for failing to move to reduce the

defendant’s sentence pursuant to Rule 35 of the Federal Rules of Criminal Procedure.78 Rule 35



       75
            Id.
       76
            Id.
       77
            2255 motion at 43.
       78
            Id. at 52.

                                                 26
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provides that a court may reduce a sentence for an arithmetical or technical error and that the

government may move to reduce a prisoner’s sentence if that prisoner substantially assisted the

government after sentencing in investigating or prosecuting another person. The defendant has

not claimed that the Court made a technical error in sentencing. Nor has the government moved

to reduce his sentence for substantial assistance. Any motion for a Rule 35 sentence reduction

would have been meritless. Counsel is not ineffective for failing to make a meritless objection.

Wood, 503 F.3d at 413. As a result, this claim fails the first Strickland prong.



III.   OTHER CLAIMS RAISED IN THE DEFENDANT’S § 2255 MOTION

       In addition to his ineffective assistance claims, the defendant alleges that he was denied

his Fifth Amendment rights to due process and to be indicted by a grand jury, his Sixth

Amendment right to a fair trial, and various Fourth Amendment rights.79 The defendant argues

that he was deprived of these rights for substantially the same reasons that he was deprived of his

Sixth Amendment right to counsel. 80

       These claims are not appropriate for consideration on collateral review. As discussed

previously, a prisoner procedurally defaults even a constitutional claim when he: fails to

demonstrate “cause and prejudice” for failing to raise the issue on direct appeal or fails to

demonstrate that he is “actually innocent.” Murray v. Carrier, 477 U.S. 478, 485, 496 (1986).

While ineffective assistance of counsel claims satisfy the cause-and-prejudice standard, other

constitutional claims do not satisfy this standard unless the defendant sets forth facts



       79
            Id. at 5(a)-5(c).
       80
            See id.

                                                 27
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demonstrating cause and prejudice. See Murray, 477 U.S. at 485, 496; Massaro v. United States,

538 U.S. 500, 504 (2000). To demonstrate cause requires that the defendant demonstrate “some

objective factor external to the defendant” prevented him from raising on direct appeal the claim

he now advances. Romero v. Collins, 961 F. 2d 1181, 1183 (5th Cir. 1992) (quoting Murray,

477 U.S. at 488).

       The defendant did not raise any of his Fourth, Fifth, or Sixth Amendment claims on

direct appeal.81 Moreover, the defendant has not set forth any objective factors external to

himself that prevented him from raising his Constitutional claims on direct appeal, nor has he set

forth any facts that demonstrate actual innocence. See Romero, 961 F.2d at 1183 (5th Cir. 1992).

As a result, the defendant has procedurally defaulted these claims and this Court may not

consider these claims on collateral review.

       Accordingly,

       IT IS ORDERED that the defendant’s motion to vacate, set aside, or correct sentence is

DENIED.

       New Orleans, Louisiana, March 9, 2009.

                                                         ________________________________
                                                                LANCE M. AFRICK
                                                        UNITED STATES DISTRICT JUDGE




       81
            See Rec. Doc. No. 312.

                                                28
